 Case 2:18-cv-14706-CCC-SCM Document 1 Filed 10/05/18 Page 1 of 23 PageID: 1



RIKER DANZIG SCHERER HYLAND & PERRETTI LLP
Anthony J. Zarillo, Jr., Esq. (azarillo@riker.com)
Headquarters Plaza
One Speedwell Avenue
Morristown, NJ 07962-1981
(973)538-0800
Attorneys for Defendant,
 National Union Fire Insurance Company of Pittsburgh, Pa.

                                                          UNITED STATES DISTRICT COURT
                                                             DISTRICT OF NEW JERSEY
 AMAZON LOGISTICS, INC.,
                                                    CIVIL ACTION NO.
                                                    DOCUMENT FILED ELECTRONICALLY
                              Plaintiff,
                        V.

                                                               NOTICE OF REMOVAL
 NATIONAL UNION FIRE INSURANCE
 COMPANY OF PITTSBURGH, PA.,
                                                    Removed from the
                              Defendant.            Superior Court of New Jersey,
                                                    Law Division, Essex County


TO:    Clerk of Court
       Martin Luther King Building & U.S. Courthouse
       50 Walnut Street, Room 4015
       Newark, New Jersey 07101

With Notice to:

       Deputy Clerk of the Superior Court, Law Division
       Superior Court of New Jersey, Essex County
       Essex County Veterans Courthouse
       50 West Market Street
       Newark, New Jersey 07102

       Eugene Killian, Jr., Esq.
       Ryan Milun, Esq.
       THE KILLIAN FIRM, P.C.
       555 Route 1 South, Suite 430
       Iselin, New Jersey 08830
       ekillian@,tkfpe.com
       Attorneys for Plaintiff


                                              1
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       PLEASE TAKE NOTICE THAT on October 5, 2018, based on the following

allegations, Defendant National Union Fire Insuranee Company of Pittsburgh, Pa. (“National

Union”), did and hereby does remove this action from the Superior Court of New Jersey, Law

Division, Essex County, to the United States District Court for the District of New Jersey,

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 with full reservation of any and all defenses and

objeetions.

                                 TIMELINESS OF REMOVAL

        1.     On August 30, 2018, Plaintiff Amazon Logistics, Inc. (“Plaintiff’) filed this civil

action against National Union in the Superior Court of New Jersey, Law Division, Essex County,

captioned Amazon Logistics. Inc, v. National Union Fire Insuranee Company of Pittsburgh. Pa.,

and assigned Docket No. ESX-L-6172-18 (the “State Court Aetion”). A true and correct copy of

the Complaint in the State Court Action is annexed hereto as Exhibit A.

       2.      On September 7, 2018, National Union was served with a copy of the Summons

and Complaint in the State Court Aetion, through the New Jersey Department of Banking and

Insurance (“DOBI”), its appointed agent for service of process in the State of New Jersey. A

true and correet eopy of eorrespondence dated September 7, 2018, and evidencing service of the

Summons and Complaint upon DOBI effective that date, is annexed hereto as Exhibit B.

        3.     Pursuant to 28 U.S.C. § 1446(b)(1), a notice of removal of a civil action shall be

filed within 30 days after the reeeipt by the defendant, through service or otherwise, of a copy of

the initial pleading setting forth the claim for relief upon whieh sueh action is based.

        4.     Removal of the State Court Action to this Court is thus timely pursuant to 28

U.S.C. § 1446(b)(1).




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        5.     To National Union’s knowledge, no additional process, pleading or order has

been filed to date in this action outside of that attached as Exhibit A.

        6.     Written notice of the filing of this Notice of Removal will be served upon

Plaintiffs counsel as required by 28 U.S.C. § 1446(d).

        7.     In addition, a copy of this Notice of Removal is being served upon counsel for

Plaintiff and is being filed contemporaneously with the Deputy Clerk of the Superior Court,

Superior Court of the State of New Jersey, Law Division, Essex County, as required hy 28

U.S.C. § 1446(d).

                                 VENUE AND JURISDICTION

        8.      Venue is proper under 28 U.S.C. § 1441(a) because the Superior Court of New

Jersey, Essex County, is located within the district of the United States District Court for the

District of New Jersey.

        9.      As is set forth in detail below, the Court has jurisdiction pursuant to 28 U.S.C. §

1332 because the true parties are completely diverse and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

                                      Diversity of Citizenship

        10.     Plaintiff and National Union are both corporations.

        11.     Pursuant to 28 U.S.C. § 1332(c)(1), a corporation is deemed to be a citizen of

every state in which it has been incorporated, as well as of the state where it has its principal

place of business.

        12.     Plaintiffs Complaint alleges that it is a corporation with a principal place of

business in Seattle, Washington.




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       13.     In addition, although the Complaint does not contain any allegations pertaining to

Plaintiffs state of incorporation, information from the Delaware Department of State, Division

of Corporations, indicates that Plaintiff is incorporated in the State of Delaware. A copy of the

“Entity Details” for Plaintiff Amazon Logistics, Inc., indicating that such entity is incorporated

in the State of Delaware, is annexed hereto as Exhibit C.

       14.     National Union is incorporated in the State of Pennsylvania and has its principal

place of business in New York, New York.

       15.     Therefore, pursuant to 28 U.S.C § 1332(c)(1), Plaintiff is a citizen of Washington

and Delaware and National Union is a citizen of Pennsylvania and New York.

       16.     Accordingly, complete diversity of citizenship existed between the parties at the

time the Complaint was filed, and complete diversity of citizenship exists at the time of removal.

                                     Amount in Controversy

       17.     Plaintiff seeks, in this action, a declaration as to National Union’s duties and

obligations owed to Plaintiff, under two policies of insurance that National Union is alleged to

have issued to non-party SMX, LLC (“SMX”), with per occurrence limits of $1 million, and $25

million, respectively. (Complaint 1| 1, 5). Specifically, Plaintiff seeks “additional insured” status

under the aforementioned insurance policies issued by National Union, in connection with

certain claims that have been brought against Plaintiff, SMX, and others, in two underlying

personal injury lawsuits.    Plaintiff asserts that it has been forced to incur certain defense

expenses in connection with the underlying personal injury lawsuits.          (Complaint m 6-19).

Plaintiffs claims asserted in the Complaint include seeking a declaratory judgment as to

National Union’s duty to defend (Id,     20-22) and for breach of contract (Id,     23-24).




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       18.     Plaintiffs declaratory judgment claim seeks non-monetary relief.              Plaintiffs

claim for breach of contract, although seeking monetary relief, does not demand a sum certain.

       19.     Therefore, pursuant to 28 U.S.C. § 1446(c)(2), this Notice of Removal may assert

the amount in controversy, and removal of the action shall be deemed proper if the amount in

controversy stated herein is found by a “preponderance of the evidence” to exceed the amount

specified in 28 U.S.C. § 1332(a) (i.e., $75,000, exclusive of interest and costs).               Auto-

Owners Ins. Co. V. Stevens & Ricci. Inc., 835 F.3d 388, 395 (3d Cir. 2016).

       20.      Although declaratory judgment actions do not directly involve an award of

monetary damages, “it is well established” that the amount in controversy in such actions “is

measured by the value of the object of the litigation.” Auto-Owners, 835 F.3d at 397-98 (citing

Hunt V. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 347 (1977)); see also 14AA Charles

Alan Wright et al. Federal Practice & Procedure § 3708 (4th ed. 2016) (“With regard to actions

seeking declaratory relief, the amount in controversy is the value of the right or the viability of

the legal claim to be declared, such as a right to indemnification or a duty to defend.”).

       21.     In other courts in this Circuit, both (1) the insurance policy limits at issue and (2)

the value of the underlying litigation have been considered to be relevant in determining the

 'amount in controversy” in an insurance coverage declaratory judgment action where no sum

certain has been demanded. See, e.g. Liberty Ins. Co. v. Korn, 210 F.Supp.3d 612, 617 (D. Del.

2016) (in declaratory judgment action involving insurer’s duty to defend, “courts may consider

the insurance policy limits in determining whether the underlying action might result in an award

exceeding the jurisdictional amount.”) (quotation and citation omitted); Jeffrey Press, Inc, v.

Hartford Cas. Ins. Co., 326 F.Supp.2d 626, 628-29 (E.D. Pa. 2004) (where complaint against

insurer seeks declaration as to duty to defend, the amount in controversy requirement “can be


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satisfied by looking to the underlying suit”); Gisele Grocery & Deli v. Hanover Ins. Group, No.

10-158-PGS, 2010 WL 1688578 (D. N.J. Apr. 27, 2010), at *1 (insured did not dispute that “the

underlying value of the requested declaratory relief’ - k^, “the amount of coverage under the

Policy” - exceeded $75,000).

       22.     As alleged in the State Court Action, Plaintiff seeks a declaration of rights arising

under insurance policies issued by National Union, with per occurrence limits of $1 million, and

$25 million, respectively. Given that Plaintiff seeks additional insured status under both policies.

the “value of the right” sought by Plaintiff plainly exceeds the $75,000 jurisdictional

requirement.

       23.     In addition, in June 2018, in one of the underlying bodily injury lawsuits, the

underlying plaintiff filed an “offer to take judgmenf’ in the amount of $1 million. A true and

correct copy of the $1 million offer to take judgment is annexed hereto as Exhibit D. Therefore,

one of the underlying plaintiffs has placed a value on one of the underlying bodily injury actions

of $1 million, which is well in excess of the $75,000 jurisdictional requirement.

       24.     The amount in controversy in this action, therefore, exceeds the $75,000 threshold

required for diversity jurisdiction. See 28 U.S.C. § 1332(a).

       WHEREFORE, National Union respectfully requests that the State Court Action be

removed from the Superior Court of New Jersey, Law Division, Essex County to the United

States District Court for the District of New Jersey.




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                                   RIKER DANZIG SCHERER HYLAND &
                                   PERRETTI LLP


                             By:   /s/ Anthony J. Zarillo, Jr._____________
                                   Anthony J. Zarillo, Jr., Esq. (azarillo@riker.com)
                                   One Speedwell Avenue
                                   Morristown, NJ 07962-1981
                                   Telephone: (973) 538-0800
                                   Facsimile: (973) 538-1984

                                   Attorneys for Defendant,
                                    National Union Fire Insurance Company
                                    of Pittsburgh, Pa.

Dated: October 5, 2018




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              CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        Anthony J. Zarillo, Jr., Esq., of full age, hereby eertifies in aceordanee with Loeal Civil

Rule 11.2 that to the best of my knowledge, the matter in eontroversy is not the subjeet of any

other aetion pending in any eourt, or of any pending arbitration or administrative proeeeding,

except for the state court action being removed to this Court. I am further presently aware of the

names of no other parties that should be joined in this action.

        I certify that the foregoing statements made by me are true. I further certify that if any of

the foregoing statements made by me are willfully false, I am subject to punishment.


                                              RIKER DANZIG SCHERER HYLAND &
                                              PERRETTI LLP


                                       By:    /s/ Anthony J. Zarillo, Jr._____________
                                              Anthony J. Zarillo, Jr., Esq. (azarillo@,riker.com)
                                              One Speedwell Avenue
                                              Morristown, NJ 07962-1981
                                              Telephone: (973) 538-0800
                                              Facsimile: (973) 538-1984

                                              Attorneys for Defendant,
                                               National Union Fire Insurance Company
                                               of Pittsburgh, Pa.

Dated: October 5, 2018




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                      EXHIBIT A
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  Eugene KilUan, Jr. (Bar No. 002081990)
  Ryan Milun (Bar No. 043412006)
  THE KILLIAN FIRM, P.C.
  555 Route 1 South, Suite 430
  Iselin,NJ 08830
  732-912-2100
  ekillian@tkJpc.com

  Attorneys for Plaintiff

                               SUPERIOR COURT OF NEW JERSEY
                                LAW DIVISION: ESSEX COUNTY


   AMAZON LOGISTICS, INC.;                             Docket No.

                          Plaintiff,
                                                       Civil Action

    vs.
                                                       COMPLAINT AND JURY DEMAND
   NATIONAL UNION FIRE INSURANCE
   COMPANY OF PITTSBURGH, PA,

                         Defendant.


           Plaintiff, Amazon Logistics, Inc. (“Amazon”), with a principal place of business at 2021

   7* Avenue, Seattle, WA 98121, for its complaint against defendant National Union Fire Insurance

   Company of Pittsburgh, PA (“National Union”), alleges as follows:

                                       NATURE OF THIS ACTION

           1.     By this action, Amazon seeks to enforce National Union’s duty and obligation to

   provide a defense to Amazon in connection with two underlying actions captioned Susan Pitman

   V. Charles, et al, Superior Court of New Jersey, Law Division, Essex County, Docket No. ESX-

   L-0013-18, and David Pitman v. Charles, et ah, Superior Court of New Jerse}', Law Division,

   Essex County, Docket No. ESX-L-2092-18. 1


   ’ The “Pitman Actions. 5>
                                                   1
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                                          THE PARTIES

          2.       Amazon uses third party delivery companies known as Delivery Service Partners

   (DSPs) to deliver packages. DSPs pick up packages at Amazon delivery stations and deliver them

   to customers.

          3.       National Union is an insurance company that sells commercial and personal

   insurance solutions across the United States, including in New Jersey.

          4.       National Union operates as a subsidiary of AIG Property Casualty U.S., Inc.

          5.       National Union sold insurance policies to SMX, LLC, an Amazon DSP. The two

   relevant policies sold to SMX, LLC included: (1) Policy Number 007062942 with a policy period

   of July 1, 2015 through July 1, 2016 and a per occurrence limit of $1 million; and (2) Policy

   Number 19962018 with a policy period JGrom July 1, 2015 through July 1, 2016 and a per

   occurrence policy limit of $25 million.^

                                FACTS COMMON TO ALL COUNTS

          6.        The Pitman Actions seek damages for injuries allegedly suffered by Susan and

   David Pitman as a result of an automobile accident on May 26,2016.

          7.        On March 13, 2015, SMX, LLC (“SMX”) and Amazon entered into a contract

   entitled Delivery Provider Terms of Service - Work Order (“Delivery Provider Agreemenf’).

           8.       Under the terms of the Delivery Provider Agreement, after an initial 30-day Pilot

   Period, if the parties mutually agreed to continue working together, the Delivery Provider

   Agreement would remain in full force and effect until terminated by either party in accordance

   ■with the termination rights set forth in the terras of the agreement.

           9.      ■ The Delivery Provider Agreement between Amazon and SMX remained in full



   ^ The “National Union Policies.'
                                                      2
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  force and effect as of May 26,2016, which was the date of the accident giving rise to the Pitman

  Actions.

          10.      Under Section 6 of tihe Delivery Provider Agreement, SMX was required to secure

   and maintain Commercial General Liability Insurance with limits of not less than $5,000,000 per

   occmxence and in the general aggregate.

          11.      Section 6 of the Delivery Provider Agreement also required SMX to maintain

   Business Automobile Liability insurance (also known as “motor fleef ’ insurance) with limits of

   not less than $5,000,000 per oceurrence for bodily injury and property damage combined.

          12.      In addition to the policy limits. Section 6 of the Delivery Provider Agreement

   required the insurance secured by SMX to name Amazon and its affiliates as additional insureds,

   provide coverage on an occurrence basis, waive any insurer right of subrogation against Amazon

   or its affiliates, and provide primary coverage without any right of contribution from any other

   insurance that Amazon or any of its affiliates may have.

          13.      Upon information and belief, SMX secured the necessary insurance coverage

   through National Union that complied with all of the requirements of Section 6 of the Delivery

   Provider Agreement, and more specifically the additional insured requirement.

             14.   On May 26, 2016, an automobile accident occurred involving Nicholson Charles,

   an employee of SMX, and the underlying plaintiffs Susan and David Pitman.

             15.   At the time of the accident, Nicholson Charles was operating his vehicle in the

   course of his employment with SMX and SMX was operating as a DSP for Amazon under the

   Delivery Provider Agreement.

             16.    Susan Pitman filed a lawsuit against Nicholson Charles and others, including

   Amazon, on or about January 2, 2018, and David Pitman filed a complaint against Nicholson



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   Charles and others, including Amazon, shortly thereafter.

          17.       Amazon, through outside counsel, has answered the complaints in the Pitman

   Actions.

          18.       Any liability of Amazon in connection with the Pitman Actions is derivative, and a

   result of the activity of SMX.

          19.       Amazon, as an additional insured under the National Union policies, has duly

   requested a defense from AIG with respect to the Pitman Actions, which National Union has not

   to date provided. Meanwhile, the Pitman Actions are still pending, and Amazon continues to incur

   defense costs.

                                            COUNT ONE
                              (Declaratory Judgment on Duty to Defend)

          20.       Amazon repeats the previous allegations of this Complaint.

          21.       National Union’s failure to defend Amazon with respect to the Pitman Actions

   constitutes an ongoing breach of contract, and creates an actual and justiciable controversy

   between Amazon and National Union.

          22.       Amazon is entitled to a declaration of the rights and interests of the parties under

   the National Union Policies.

           WHEREFORE, Amazon requests the entry of judgment against National Union as

   follows:

           a)       Declaring and adjudging that National Union must provide a defense to Amazon

                    for the Pitman Actions;

           b)       Awarding attorney’s fees and other costs to Amazon, as allowed by R. 4:42-9(a)(6);

                    and

           c)       Awarding any other relief that the Court deems appropriate.

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                                          COUNT TWO
                                       (Breach of Contract)

          23.    Amazon repeats the previous paragraphs in this complaint.

          24.    National Union’s failure to respond properly to Amazon’s request for a defense of

   the Pitman Actions on behalf of Amazon constitutes a breach of contract, as a result of which

   Amazon has been damaged.

          WHEREFORE, Amazon requests the entry of judgment against National Union as

   follows:

          a)     Awarding compensatory, consequential and incidental damages to Amazon;

          b)     Awarding pre-judgment interest to Amazon;

          c)     Awarding attorney’s fees and other costs to Amazoii, as allowed by R. 4:42-9(a)(6);

          d)     Awarding any other relief that the Court deems appropriate.

   Dated: August 30, 2018                              THE KILLIAN FIRM, P.C.
                                                       Attorneys for Plaintiff



                                                       By:
                                                              RY.         -UN




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                                DESIGNATION OF TRIAL COUNSEL

            Amazon designates Eugene Killian, Jr. of The Killian Firm, P.C. as its trial counsel in this

   case.

   Dated: August 30, 2018                                 THE KILLIAN FIRM, P.C.
                                                          Attorneysfor Plaintiff



                                                          By:
                                                                 RY,


                                     DEMAND FOR JURY TRIAL

            Amazon demands trial by jury witli respect to Count Two of the Complaint.

   Dated: August 30, 2018                                 THE KILLIAN FIRM, P.C.
                                                          Attorneysfor Plaintiff




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                                    R. 4:5-1 CERTIFICATION

   EUGENE KILLIAN, JR. of Ml age, certifies as follows:

      1. I have been a member in good standing of the Bar of the State of New Jersey since 1990,
         and I am the Principal of The Killian Firm, P.C., the attorneys for Plaintiff in this action.

      2. To the best of my knowledge, information and belief, the matter in controversy is not the
         subject of any other action pendmg in any court or of upending arbitration proceeding, and
         no such action or arbitration proceeding is contemplated, except that, as stated in the
         Complaint, Plaintiff seeks to enforce liability insurance coverage in connection with two
         underlying cases:

          Pitman v. Charles, et al, Superior Court of New Jersey, Law Division, Essex County,
          DocketNo. ESX-L-0013-18; and

          Pitman v. Charles, et al, Superior Court of New Jersey, Law Division, Essex County,
          DocketNo. ESX-L-2092-18

      3. lam aware of no non-party who should be joined in this insurance coverage action or who
         is subject to joiner because of potential liability to any party on the basis of the same
         transactional facts.


          I certify that the foregoing statements made by me are true. I am aware that if any of the
   foregoing statements made by me are willfuUy false, I am subject to punislunent.

   Dated: August 30,2018
                                                        RY^i^LUN




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                        EXHIBIT B
Case 2:18-cv-14706-CCC-SCM Document 1 Filed 10/05/18 Page 18 of 23 PageID: 18




                                          ^tate of
                                       Department of Banking and Insurance
                                           Office of the Commissioner
     Phil Murphy                                    PO Box 325                                           Marlene Caride
      Governor                                 Trenton, NJ 08625-0325                                    Commissioner

     Sheila Oliver
     Lt. Governor                                    Tel (609) 292-7272


 CERTIFIED MAIL                                                                                       9/7/2018
 RETURN RECEIPT REQUESTED

 Attention:
 CORPORATION SERVICE COMPANY
 NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH. PA
 PRINCETON SOUTH CORPORATE CENTER
 100 CHARLES EWING BOULEVARD, SUITE 160
 EWING. NJ 08628


 RE: Amazon Logistics, Inc. v. National Union Fire Insurance Company of
  ■ Pittsburgh, PA
     Superior Court of New Jersey, Essex County Law Division
     Docket No.: ESX-L-006172-18


 Dear Sir/Madam:

 You are hereby notified that on this date the Commissioner of the New Jersey Department of
 Banking and Insurance has accepted original service of process on your behalf in the above-
 captioned matter. The documents served are enclosed herein.

 By copy of this letter I am advising the attorney for the Plaintiff(s) in this matter that these
 documents have been transmitted to you, and confirming that the Commissioner of Banking
 and Insurance is not authorized to receive service of any further documents in this action.


                                                                          Very Truly Yours,



 C: The Killian Firm, P.C.                                                Debra A Mullen
    ATTN: Ryan Milun, Esq.                                                Administrative Assistant
    555 Route 1 South, Suite 430
    Iselin, NJ 08830




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                       EXHIBIT C
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Division of Corporations - Filing                                                                                  https ://icis. corp. delaware.gov/Ecorp/Entity S


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          Department of State: Division of Corporations
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          Contact Us                                                  : File Number:                     5292879                    Eorniatipn Date:      (mm/dd/yyyy)
          Office Location
                                                                              Entity..Name:              AMAZON LOGISTICS, INC.
           SERVICES
           Pay Taxes
           File UCC's                                                         Entity^Klnd;.              Corporation                     .Entity_IyB8:    General
           Delaware Laws Online
           Name Reservation                                           ! Residency:                       Domestic                               State:    DELAWARE
           Entity Search
           Status
           Validate Certificate                                               REGiSTERED AGENT iNFORMATiON
           Customer Service Survey
           INFORMATION
           Corporate Forms                                            i Name:                            CORPORATION SERVICE COMPANY
           Corporate Fees                                             i
           UCC Forms and Fees                                         i Address:                         251 LITTLE FALLS DRIVE
           Taxes
           Expedited Services                                         ; City:                            WILMINGTON                           County:     New Castle
           Service of Process
           Registered Agents                                          ; State:                           DE                              Postal Code:     19808
           GetCorporate Status
           Submitting a Request                                                                          302-636-5401
                                                                              Phone:
           How to Form a New Business Entity
           Certifications, Apostilles & Authentication of Documents   i
                                                                          '   Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                                          :   more detailed information including current franchise tax assessment, current filing history
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                       EXHIBIT D
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        DAVID WENDEL, ESQ. #031251990
        Starr, Gern, Davison & Rubin, P.C.
        105 Eisenhower Parkway
        Roseland, New Jersey 07068
        Tel: (973) 403-9200 | Fax: (973)226-0031
        Attorneys for Plaintiffs

         SUSAN PITMAN,                                     SUPERIOR COURT OF NEW JERSEY
                                                           LAW DIVISION: ESSEX COUNTY
                              Plaintiff,                   DOCKET NO. ESX-L-0013-18

                V.
                                                                       Civil Action

         NICHOLSON CHARLES; EAN
         HOLDINGS, LLC; ENTERPRISE-RENT-                      OFFER TO TAKE JUDGMENT
         A-CAR COMPANY; ENTERPRISE                              BY PLAINTIFF AGAINST
         LEASING OF PHILADELPHIA; ELRAC,                            DEFENDANTS
         LLC; SMX, LLC; AMAZON LOGISTICS,
         LLC; ABC STAFFING COMPANY and
         XYZ LEASING COMPANY,




        Christopher W. McClanahan, Esq.
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         COUNSELLORS:
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                  PLEASE TAKE NOTICE that pursuant to Rule 4:58-1 et seq., Plaintiff, Susan Pitman,

        offers to take judgment against defendants — Nicholson Charles, SMX, LLC, ELRAC, LLC, and

        Amazon Logistics, Inc, - jointly, severally, or in the alternative, in the amount of $1,000,000.00.

        This conditional offer will be deemed withdrawn unless accepted in accordance with said rule, In

        the event this offer is not accepted. Plaintiff will apply to the Court for cost of suit, interest, and

        reasonable attorney’s fees as provided by Rule 4:58-1.

                                                                      STARR, GERN, DAVISON & RUBIN, P.C.
                                                                      Attorneys for Plaintiffs


                                                                      By:
                                                                            DAVID WENDEL, ESQ.
        Dated: June 15, 2018
        cc:    Corey A. Deitz, Esq,
               Adam S. Somi, Esq.
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